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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


AMY J. WANG,

              Plaintiff,                                   No. 18-12924

v.                                                         Hon. Nancy G. Edmunds

BOARD OF REGENTS OF THE UNIVERSITY
OF MICHIGAN operating as the UNIVERSITY
OF MICHIGAN, and NANCY HOBBS, individually
and in her official capacity.

           Defendants.
________________________________________/

              ORDER DISMISSING PLAINTIFF'S STATE LAW CLAIMS

       Plaintiff Amy J. Wang filed suit against Defendants, Board of Regents of the

University of Michigan operating as the University of Michigan and Nancy Hobbs,

individually and in her official capacity, in this Court on September 17, 2018.

       While Plaintiff’s complaint does allege violations of 42 U.S.C. § 1983 and the

United States Constitution, Plaintiff's complaint also presents claims based on state

law. Since the parties to this matter are nondiverse, this Court declines to exercise

supplemental jurisdiction over the latter claims so as to avoid jury confusion. See 28

U.S.C. § 1367(c)(4); Moor v. Cty. of Alameda, 411 U.S. 693, 716 (1973); Padilla v.

City of Saginaw, 867 F. Supp. 1309, 1315 (E.D. Mich. 1994). Thus, pursuant to 28

U.S.C. § 1367(c), all of Plaintiff's state law claims including, but not limited to, violation

of the Michigan Whistleblowers’ Protection Act (Count III) and violation of Michigan’s

established public policy (Count IV) are hereby DISMISSED WITHOUT PREJUDICE.

The Court will retain jurisdiction over Plaintiff’s federal claims only.
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         SO ORDERED.



                                s/Nancy G. Edmunds
                                Nancy G. Edmunds
                                United States District Judge

Dated: October 17, 2018

I hereby certify that a copy of the foregoing document was served upon counsel of
record on October 17, 2018, by electronic and/or ordinary mail.

                                s/Lisa Bartlett
                                Case Manager

 
